        Case 8:17-cv-00190-SDM-SPF Document 292 Filed 09/15/20 Page 1 of 1 PageID 12622
                   ELEVENTH CIRCUIT TRANSCRIPT INFORMATION FORM
PART I.                                  TRANSCRIPT ORDER INFORMATION
Appellant to complete and file with the District Court Clerk and the Court of Appeals Clerk within 14 days of the filing of the notice of
appeal in all cases, including those in which there was no hearing or for which no transcript is ordered.

Short Case Style: Financial Information Technologies, LLC                   vs iControl Systems, USA, LLC
District Court No.: 8:17-cv-00190-SDM-SPF           Date Notice of Appeal Filed: 09/04/2020       Court of Appeals No.: 20-13368
                                                                                                                                      (If Available)
CHOOSE ONE: ‫ ܆‬No hearing ‫ ܆‬No transcript is required for appeal purposes ‫ ܆‬All necessary transcript(s) on file
                          ‫ ܆‬I AM ORDERING A TRANSCRIPT OF THE FOLLOWING PROCEEDINGS:

Check appropriate box(es) and provide all information requested:
                                  HEARING DATE(S)                        JUDGE/MAGISTRATE                        COURT REPORTER NAME(S)
‫ ܆‬Pre-Trial Proceedings
‫ ܆‬Trial
‫ ܆‬Sentence
‫ ܆‬Plea
‫ ܆‬Other
METHOD OF PAYMENT:
‫ ܆‬I CERTIFY THAT I HAVE CONTACTED THE COURT REPORTER(S) AND HAVE MADE SATISFACTORY
  ARRANGEMENTS WITH THE COURT REPORTER(S) FOR PAYING THE COST OF THE TRANSCRIPT.
‫ ܆‬CRIMINAL JUSTICE ACT. My completed AUTH-24 requesting authorization for government payment of transcripts has been uploaded in
     eVoucher and is ready for submission to the magistrate judge or district judge [if appointed by the district court] or to the circuit judge [if
     ordered by or appointed by the circuit court]. [A transcript of the following proceedings will be provided ONLY IF SPECIFICALLY
     AUTHORIZED in Item 13 on the AUTH-24: Voir Dire; Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal;
     Jury Instructions.]

Ordering Counsel/Party:
Name of Firm:
Address:
E-mail:                                                                                                    Phone No.:
I certify that I have completed and filed PART I with the District Court Clerk and the Court of Appeals Clerk, sent a copy to the appropriate Court
Reporter(s) if ordering a transcript, and served all parties.

DATE: 9/15/2020               SIGNED: s/Jeffrey S. Bucholtz                                           Attorney for: iControl Systems, USA, LLC

PART II.                             COURT REPORTER ACKNOWLEDGMENT
Court Reporter to complete and file with the District Court Clerk within 14 days of receipt. The Court Reporter shall send a copy to
the Court of Appeals Clerk and to all parties.
Date Transcript Order received:
‫ ܆‬Satisfactory arrangements for paying the cost of the transcript were completed on:
‫ ܆‬Satisfactory arrangements for paying the cost of the transcript have not been made.
No. of hearing days:                Estimated no. of transcript pages:                Estimated filing date:
DATE:                    SIGNED:                                                      Phone No.:
NOTE: The transcript is due to be filed within 30 days of the date satisfactory arrangements for paying the cost of the
transcript were completed unless the Court Reporter obtains an extension of time to file the transcript.
PART III.         NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN DISTRICT COURT
Court Reporter to complete and file with the District Court Clerk on date of filing transcript in District Court. The Court
Reporter shall send a copy to the Court of Appeals Clerk on the same date.
This is to certify that the transcript has been completed and filed with the district court on (date):
Actual No. of Volumes and Hearing Dates:
Date:                                  Signature of Court Reporter:
                                                                                                                                          Rev. 12/17
